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                  UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT MICHIGAN

MALIBU MEDIA, LLC,                        )
                                          )
            Plaintiff,                    ) Civil Case No. 2:18-cv-13063-GCS-DRG
                                          )
v.                                        ) Hon. George Caram Steeh
                                          )
JOHN DOE subscriber assigned IP           )
Address 68.42.243.184,                    )
                                          )
            Defendant.                    )
                                          )

          ORDER GRANTING MOTION FOR LEAVE TO SERVE
     THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE
                          [ECF No. 3]

       THIS CAUSE came before the Court upon Plaintiff’s Motion for Leave to

Serve A Third Party Subpoena Prior to a Rule 26(f) Conference (the “Motion”),

and the Court being duly advised in the premises does hereby ORDER:

       1.   Plaintiff established that “good cause” exists for it to serve a third

party subpoena on Comcast Cable (hereinafter the “ISP”). See UMG Recording,

Inc. v. Doe, 2008 WL 4104214, *4 (N.D. Cal. 2008); and Arista Records LLC v.

Does 1-19, 551 F. Supp. 2d 1, 6-7 (D.D.C. 2008).

       2.   Plaintiff may serve the ISP with a Rule 45 subpoena commanding the

ISP to provide Plaintiff with the true name and address of the Defendant to whom

the ISP assigned an IP address as set forth on Exhibit A to the Complaint. Plaintiff

shall attach to any such subpoena a copy of this Order.
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       3.    Plaintiff may also serve a Rule 45 subpoena in the same manner as

above on any service provider that is identified in response to a subpoena as a

provider of Internet services to one of the Defendants.

       4.    If the ISP qualifies as a “cable operator,” as defined by 47 U.S.C. §

522(5), which states:

      the term “cable operator” means any person or group of persons

      (A) who provides cable service over a cable system and directly or
          through one or more affiliates owns a significant interest in such
          cable system, or

      (B) who otherwise controls or is responsible for, through any
          arrangement, the management and operation of such a cable
          system.

it shall comply with 47 U.S.C. § 551(c)(2)(B), which states:

      A cable operator may disclose such [personal identifying] information
      if the disclosure is . . . made pursuant to a court order authorizing such
      disclosure, if the subscriber is notified of such order by the person to
      whom the order is directed.

by sending a copy of this Order to the Defendant.

       5.    Plaintiff may only use the information disclosed in response to a Rule

45 subpoena served on the ISP for the purpose of protecting and enforcing

Plaintiff’s rights as set forth in its Complaint.

       SO ORDERED this 3rd day of October, 2018.

                                         s/George Caram Steeh
                                         UNITED STATES DISTRICT JUDGE


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